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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

 KEITH TOWNSEND,                                        )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )       No. 1:23-cv-00861-RLY-MKK
                                                        )
 MUNCIE SANITARY DISTRICT,                              )
 STEPHEN BRAND,                                         )
 ADAM LEACH,                                            )
 TIM OVERTON,                                           )
 MICHAEL WOLFE,                                         )
 DAVID SMITH,                                           )
                                                        )
                                Defendants.             )



                        ORDER REGARDING DISCOVERY DISPUTES

        Under Fed. R. Civ. P. 37(a)(1) and S.D. Ind. L.R. 37-1(a), a party must meet and confer

 in good faith to resolve a discovery dispute with another person or party before involving the

 court in the dispute. Ideally, the meet and confer shall occur in person to resolve the discovery

 issues; however, genuine attempts may be made virtually or telephonically if meeting in person

 is unfeasible. If the party has exhausted those efforts and the dispute still persists, they must seek

 a discovery conference with the Magistrate Judge before the filing of a formal motion to compel

 or contested motion for protective order in the manner set forth below:

        a)      Discovery disputes generally. Except in the circumstances covered by (b) and (c)

 below, the party must (1) jointly or unilaterally file a motion for a discovery conference, setting

 forth very briefly and without argument the nature of the dispute or (2) jointly contact the

 Magistrate Judge's chambers to request a conference. If the latter, the court staff may direct the
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 party to provide a brief description of the dispute. The party must not unilaterally contact the

 Magistrate Judge's chambers regarding a discovery dispute absent compelling circumstances.

        b)       Disputes involving the failure to make any timely response whatsoever to a

 written discovery request. In this circumstance, the requesting party must still comply with the

 requirements of Fed. R. Civ. P. 37(a)(1) and S.D. Ind. L.R. 37-1(a) to meet and confer in good

 faith to resolve the matter with the person or party failing to make a response. However, the

 requesting party is not required to seek a discovery conference with the Magistrate Judge before

 filing a motion to compel.

        c)       Disputes involving an objection raised during a deposition that threatens to

 prevent the completion of the deposition. In this circumstance, the party must telephone the

 Magistrate Judge's chambers to determine whether the Magistrate Judge is available to hear

 argument and rule on the objection on the record of the deposition.

        So ORDERED.



              Date: 9/1/2023




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